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      ~f<' VliM'~ #t'., f'~ltc/t',r de..rcd-"1;~k,? ~~ me                                       4'J 41'1    ~~~~         II'J   ~v,:'#, ,l'l',» ~-/~
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;~('        e.) 8'1 t'4/ li~V1 ~                      'lfop    eytyrrJ      w       of llr cy/JIJ a.d c:""/)ltyt'n               :TLJo c            t"'-'*~"r~'~      Lh


        t-/lfAirHir;      f¥J!,;Y       tfrcr C'dll            ~~"'   dt'rc//I'J'I;A:I/Ot? t2j"Cr;/           ~           .II'17I /;;/714J..-J    ~yx!/' t"/1/              ot.M-.1

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        tJ,J~ I:J,/,/11';        ~t;ht/'J~v(r jJOH tblt h> c..Jl:v maaty

?'L         .) ~                  7tJoc lli.Jo                  hcj fr;rt/       h J'c 11 ( /111119'          ~ ~ ~t'/1~ ~~rJitlt                                  ul      ~
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       ,'.t, 11'1?.kJ

           ..f ) Tft.t            :T/.JO(          tirc('J l;_,ff/CWJ            (~!c,,Jrf/ c1(/          t)/-1err)   ~      f''lr/rN lr//!r·          <:'~    ..?a     /rt>d-

       /}/ti!->1"   i/]pl( t#            -a    .fr<.f         '/h.l 7~ .Jiio..~tr!         k kikt/            S'J11.L V?/-1 &,r          l't/(.       c j'-t-..<"N<' .

           • ) Tk ItJoc                           cloeJ -/f,tj          ~t'?~t.X       rh>y        IJ,tj~ ~   kk      cdv"/lfrj(            tY fie            /;,111cla'J       C/)o

        t:'te       l-f7C~V4/( 'foe./      -/ity   ~d-           f/.e J'/11JZ:      ('rl/(1"1< .


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        afJC:~hlt/'}t:/r'Q          ";JCI/']Jf,


            •)           I~       J /JOe                  /Jci fnuv1 fr tkJcu.,.;/'lck Cjt:M;/                            ~ rr~tl;           .,; /N rN/Ifj

       if/ ;4           St:.v(     /YldA(j     t:h(/ /~ tlrd~,r ~ .f/.tnf Npa-tJfflt//.ty·

            II)          7/ze      7£)1J( )(J cl!uY-? 1"z, dtscr/./ll,/1c!7 I?J<n;l lk F!j-f":t at                                             A- /TUf_.,-flj              ~~
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            fll) 8y              Cl1avS!,"'J      ~      t/f'.fCr/    ~11r·'1·d~ ~at/l}f /11JWdf ,1c;.tt/;~5t/f'/ # 1~//'X/.(J                          e/7/(yoy            ;P"I -

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         St117           "~rn~:.ks        (/1!7(d/ v/1/ 11;;"~) ~                        7/Joc           11(;,/"1-r-1 #;          Pla~/l!f/li' /JLJ.f
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              . ___ . c.,d_          ~6d1t.i1.c~t/~~.a.. AI.J/~.1JJ6 _ _crd .. C'c.vMti fk...../?led~--~---/;"r(- knx.f£ . 17v/11t:cM. _...
              __ _... _6_/N,L.}.,..JdL _md/l4t;_,_,_thti. 1'~./P~ -fh/?1... ~11Dnud' J'ynp!Mtc -~'""";_:J---4-D~ _h-_;_ ... __ .
                     . /111'1/e/_~//1,             f7'1'/.::¥t"U. _J'vCJ.._~!.. (/,C~('& ~e/ d~J.t/<b.,._ /J!fkd_Ct--t..~./L-     Ad_ Sk(<.!d/. .~~

···-·-· __ .. Jd~i~J- _ ticl <a.ld__-4-'"'-..~~ Aw)t&L. ;../!f._JN..~;_,j~j_/ltJ~..tla.c~/~ . /n-<:/ntnL ... _ .. .
__________:? C(_______~_J. . tJLL..Ji.fr.ul'r.y-f~                1-·"{tJtL. ..   ~ _f%.0tt/!. fY?L ~J.tE.Jh-L..At-...~0...'-.. &zti£4.... .~..zd_- -                    ..
  .. ... ... -·- . . 1Jr~~u--~-l·c4J.iwj--~-~i..-~.--~--- C'-r~m...                                  d.'J.._.t!L(!_ -:::Lfl!!! __.f'..~l... .: ___ ___ __ _____..            _

_____l{ ~---·~...1- fhi:LL:tf.L~c{!'!__ Z .~<J.-t!h.ct'ti. _t71_f., __./u:d..A.t!tj-LI.t._ b..r
                          t'.-1sk._qd_    z   _/l¥.£,j_j~h, 4-.~....d.ld. '11~.1. -~a:-~... - ------ --· -- -·------                      . . . -·-· - · -
.---·· . . 0 L____• )._ ~t: JY¥,fh.r.rfc. . . . t7~o....-t.J.5.J!'l~J_-c~l...._lfc~.L/tcL~- tft"(.V4~X uau._/f:L~ ~
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___ .... -----·---·--..   -~ug-c_Zr,'e.d.h..i~~~-1.t___t:fr... /?.4..0.rifL.m.~ tl_~.&-.rn.~c;~L__ ___ -· ·-·-·- .. _                                      .... ...... _..
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- --- -·- ___rt~ddly- ti.c.&tl.~~;,.r£t-..,/1L..k. 1-4'~~-l- ~-lia.e/..._ ____ - - -- ------------- ·-·
  ... t-f) -~•t.li/.~o'.- --:r;;h                           CLJSo:'WL- /cvflt~d.. d.. ,r;:r< -~-             uhtlt___ Z_jwJ         6tr/1j----/l.!£.~~/d'd. cncl
.... ______ . . --- . /e._t;U_ _~r-ryo/ ~. 1/;IJ/J;, ~~~-· -- . --- .. ...... _ .. - ... ·-· ·····                  . -· ............ --·--- ____.. ____ .
·----- ---...!/!{__ •              L&."d.lacd..._fk,               t.ic~d-.~;..4. .C/Jait:d. /h! ...... ----·- ---... ··--- .... .. _ __ . . .........              ..

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   3. Docket Number/Judge
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   5. Disposition (That is, how did the case end. ·was the case dismissed? Was it
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   6. Approximate date of riling of
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For additional cases, provide the above information in the same format on a separate
page.


EXHAUSTION OF ADMINISTRATIVE RE"MEDIES
A. Is there a grievance procedure available at your institution? Yes         r:r('       No C
B. Have you filed a grievance concerning the facts relating to this complaint? Yes              ~
No C      If your answer is no, explain why not




C. Is· the grievance process completed?       Yes    J No/
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                                   3. Docket Number/Judge
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                              page.


                              EXHAUSTION OF ADMINISTRATIVE REl\1EDIES                                            /
                              A. Is there a grievance procedure available at your institution? Yes            m       No C          /
                              B. Have you filed a grievance concerning the facts relating to this complaint? Yes               bY'
                              No C      If your answer is no, explain why not




                              C. Is the grievance process completed?       Yes    C        No C

                                        PLEASE NOTE: THE PRISON LITIGATION REFOJUlf ACT BARS ANY                                  +-
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       3. Docket Number/Judge
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    page.


    EXHAUSTION OF ADMINISTRATIVE REMEDIES
    A. Is there a grievance procedure available at your institution? Yes   r;/       No C
    B. Have you filed a grievance concerning the facts relating to this complaint?    Yes~
    No bl It your answer is no, explain why not




    C. Is the grievance pro~ess completed?      Yes   b:J   No C
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    INCARCERATED PERSON FROM BRINGING SUIT CONCERNING THE CONDITIONS
     OF HIS CONFINEMENT UNLESS AND UNTIL HE HAS EXHAUSTED AVAILABLE
        ADMINISTRATIVE RE1l1EDIES. PLEASE ATTACH COPIES OF i\t!ATERIALS
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